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 6 United States of America

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            1:11-cr-00373 AWI
12                                Plaintiff,              STIPULATION REGARDING
                                                          CONTINUANCE;FINDINGS AND
13                 v.                                     ORDER
14   KETKEO VORASANE,
15                                Defendant.
16

17                                             STIPULATION
18          Plaintiff United States of America, by and through its counsel of record, and defendant, by
19 and through his counsel of record, hereby stipulate as follows:
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            1.     By previous order, this matter was set for sentencing on January 14, 2013, at 10 a.m.
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            2.     By this stipulation, the parties now move to continue the filing for objections and
22
     sentencing to allow the defendant to conduct further investigation and permit the government’s
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24 attorney to attend a Ninth Circuit oral argument set for January 14.

25          3.     The parties agree to set the filing of informal objections on December 31, 2012, and

26 the filing of formal objections to January 7, 2013, and to continue the sentencing to January 22,

27
     2013, at 10 a.m.
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                           Case 1:11-cr-00373-LJO-BAM Document 40 Filed 12/21/12 Page 2 of 2



 1
                           IT IS SO STIPULATED.
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 3 DATED:                        December 19, 2012.      Respectfully submitted,
 4                                                       BENJAMIN B. WAGNER
                                                         United States Attorney
 5

 6                                                       /s/ Karen A. Escobar___________________
                                                         KAREN A. ESCOBAR
 7                                                       Assistant United States Attorney
 8
     DATED:                      December 19, 2012.
 9
                                                         /s/ Jon Renge _____________
10                                                       JON RENGE
                                                         Counsel for Defendant Ketkeo Vorasane
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16                                                      ORDER
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19 IT IS SO ORDERED.
20 Dated: December 20, 2012
                                                      UNITED STATES DISTRICT JUDGE
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     DEAC_Signature-END:




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